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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

                                                )
In re:                                          )      Chapter 11
                                                )
ALEXANDER E. JONES,                             )      Case No. 22-33553 (CML)
                                                )
                            Debtor.             )
                                                )

  NOTICE OF TENEO CAPITAL LLC’S ELEVENTH MONTHLY FEE STATEMENT
  FOR COMPENSATION OF SERVICES RENDERED AND REIMBURSEMENT OF
     EXPENSES AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE
           OF UNSECURED CREDITORS FOR THE PERIOD FROM
             NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

 Name of Applicant:                                          Teneo Capital LLC
 Applicant’s Role in Case:                            Financial Advisor to the Debtors
 Date Order of Employment Signed:                   March 21, 2023 (effective as of January
                                                                 19, 2023)
                                                    Beginning of          End of Period
                                                       Period:
 Time period covered by this Statement:              11/1/2023              11/30/2023
                     Summary of Total Fees and Expenses Requested
 Total fees requested in this Statement:                                         $96,926.40
 Total expenses requested in this Statement:                                          $0.00
 Total fees and expenses requested in this Statement (exclusive of
                                                                                 $77,541.12
 20% Holdback):
 Total fees and expenses referenced in this Statement (inclusive of
                                                                                 $96,926.40
 20% Holdback):
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               In accordance with the Order Granting Motion for Entry of an
               Order Establishing Procedures for Interim Compensation and
               Reimbursement of Expenses for Chapter 11 Professionals [Docket
               No. 106], each party receiving notice of the monthly fee
               statement will have 14 days after service of the monthly fee
               statement to object to the requested fees and expenses. Upon the
               expiration of such 14-day period, the Debtor is authorized to pay
               the Professional an amount of 80% of the fees and 100% of the
               expenses requested in the applicable monthly fee statement.

       Pursuant to §§ 327, 330, and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule

2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local

Rules”), and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Chapter 11 Professionals (the “Fee Procedures

Order”) [Docket No. 106], Teneo Capital LLC (“Teneo”), as financial advisor to the Committee

of Unsecured Creditors, hereby files its Eleventh Monthly Fee Statement for Compensation of

Services Rendered and Reimbursement of Expenses as Financial Advisor to the Committee for the

Period from November 1, 2023 through November 30, 2023 (“Monthly Fee Statement”).

       1.      By this Monthly Fee Statement, and pursuant to the Fee Procedures Order, Teneo

seeks interim payment of $77,541.12 (80% of $96,926.40) as compensation for professional

services rendered to the Committee during the period of November 1, 2023 through November 30,

2023 (the “Fee Period”); and reimbursement of actual and necessary expenses in the amount of

$0.00, for a total amount of $96,926.40.

       2.      In support of the Monthly Fee Statement, Teneo submits, a Summary of

Professional Fees by Professional as Financial Advisor for the Fee Period, attached hereto as

Exhibit A, a Summary of Professional Fees by Task Category as Financial Advisor for the Period,

attached hereto as Exhibit B, a Detailed Time Entry by Task Category as Financial Advisor for
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the Fee Period, attached hereto as Exhibit C, a Summary of Expenses Incurred by Category as

Financial Advisor for the Fee Period, attached hereto as Exhibit D, and a Detailed Expenses

Incurred by Category and Professional as Financial Advisor for the Fee Period, attached hereto

as Exhibit E.

       3.       Pursuant to the Fee Procedures Order, any party objecting to the payment of interim

compensation and reimbursement of expenses shall, within fourteen (14) days of service of the

Monthly Fee Statement, serve via email to Teneo, and the following Notice Parties (as defined in

the Fee Procedures Order), a written notice setting forth the precise nature of the objection and the

amount at issue (the “Notice of Objection”) fourteen (14) days after service of this Monthly Fee

Statement:

       (a)      co-counsel to Debtor, Crowe & Dunlevy, PC, 2525 McKinnon St, Ste. 425, Dallas,
                TX 75201 (Attn: Vickie L. Driver, dallaseservice@crowedunlevy.com);

        (b)     co-counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline Blvd., Suite 900,
                Corpus Christi, TX 78401 (Attn: Shelby Jordan, sjordan@jhwclaw.com);

       (c)      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the United States
                Trustee 515 Rusk St,Ste 3516 Houston, TX 77002, ha.nguyen@usdoj.gov,
                jayson.b.ruff@usdoj.gov;

       (d)      counsel to the Official Committee of Unsecured Creditors, Akin Gump Strauss
                Hauer & Feld LLP, One Bryant Park, New York, NY 10036 (Attn: David M.
                Zensky, Marty L. Brimmage, Jr., Sara L. Brauner and Melanie A. Miller;
                dzensky@akingump.com,mbrimmage@akingump.com,
                sbrauner@akingump.com, melanie.miller@akingump.com);

       (e)      counsel to the Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder PC, 350
                Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor Sterling,
                ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind, Wharton & Garrison LLP,
                1285 Avenue of the Americas, New York, NY 10019 (Attn: Kyle J. Kimpler and
                Martin Salvucci, kkimpler@paulweiss.com, msalvucci@paulweiss.com); and

       (f)      counsel to the Texas Plaintiffs, (a) McDowell Hetherington LLP, 1001 Fannin
                Street, Suite 2700, Houston, TX 77002 (Attn: Avi Moshenberg,
                avi.moshenberg@mhllp.com) and (b) Chamberlain, Hrdlicka, White, Williams &
                Aughtry, PC, 1200 Smith Street, Suite 1400, Houston, TX 77002 (Attn: Jarrod B.
                Martin, Jarrod.Martin@chamberlainlaw.com).
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       4.      If a Notice of Objection is timely served pursuant to the Fee Procedures Order, the

objecting party and Teneo shall attempt to resolve the objection on a consensual basis. If the

parties reach an agreement, the Debtor shall promptly pay Teneo an amount equal to 80% of the

agreed-upon fees and 100% of the agreed-upon expenses.

       5.      Teneo has made every effort to coordinate with Nardello & Co. and to minimize

any duplication of effort. Although every effort has been made to include all fees and expenses

incurred in the Fee Period, some fees and expenses might not be included in this Monthly Fee

Statement due to delays caused by accounting and processing during the Fee Period. Teneo

reserves the right to make further application to this Court for allowance of such fees and expenses

not included herein. Subsequent Monthly Fee Statements will be filed in accordance with the

Bankruptcy Code, the Bankruptcy Rules, and the Fee Procedures Order.


Dated: April 15, 2024

                                                     /s/ Gary Polkowitz
                                                     Teneo Capital LLC

                                                     Financial Advisor to the Official Committee
                                                     of Unsecured Creditors
                                                     Gary Polkowitz
                                                     Senior Managing Director
                                                     280 Park Avenue, 4th Floor
                                                     New York, NY 10117
                                                     Telephone: (212) 593-2255
                                                     Email: gary.polkowitz@teneo.com
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                                          Exhibit A
                Summary of Professional Fees by Professional as Financial Advisor
                  For the Period November 1, 2023 through November 30, 2023



     Professional                  Title             Bill Rate   Total Hours        Total Fees
Gary Polkowitz          Sr. Managing Director            $683           26.7           $18,236.10
Marc Kirschner          Senior Advisor                   $650            2.9            $1,885.00
Manish Kumar            Managing Director                $613           76.1           $46,649.30
Nicholas Lee            Analyst                          $280           44.2           $12,376.00
Sidney Yune             Analyst                          $280           63.5           $17,780.00
Subtotal Hours and Fees                                                213.4           $96,926.40
Less: Voluntary Reduction (General)                                      -                   -
Less: Voluntary Reduction (Travel Time)                                  -                   -

Total Hours and Fees                                                   213.4           $96,926.40
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                                      Exhibit B
    Summary of Professional Fees by Task Category Descriptions as Financial Advisor
            For the Period November 1, 2023 through November 30, 2023



                Project Categories                Total Hours        Total Fees
Business Plan, Budgets Forecasts                           5.4              $2,424.90
Investigation                                             74.2             $22,508.90
Meetings and Communications with UCC and
                                                          12.6              $8,048.80
Counsel
Retention and Fee Applications                             2.1              $1,434.30
Strategy and Financial Advisory Services to UCC           40.2             $16,403.10
Valuation and Solvency                                    78.9             $46,106.40
TOTAL                                                    213.4             $96,926.40
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                             EXHIBIT C

       Detailed Time Entry by Task Category as Financial Advisor
      For the Period November 1, 2023 through November 30, 2023



                            See Attached
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Teneo Capital LLC


Time Period: November 1, 2023 to November 30, 2023                                                                                                              Exhibit C




Employee         Date              Case/Task/Event                                                Note                                             Rate         Amount

                                   Business Plan, Budgets
Nicholas Lee             11/6/2023 Forecasts                Review FSS plan projections as it relates to AEJ.                                2.3          280       $644.00

                                   Business Plan, Budgets
Gary Polkowitz           11/7/2023 Forecasts                Review revised FSS 5-year projections as it relates to Alex Jones                0.5          683       $341.50

                                   Business Plan, Budgets
Gary Polkowitz           11/7/2023 Forecasts                Call with M. Kumar on FSS projections as it relates to Alex Jones                0.2          683       $136.60

                                   Business Plan, Budgets
Manish Kumar             11/7/2023 Forecasts                Call with G. Polkowitz on FSS projections as it relates to Alex Jones            0.2          613       $122.60

                                   Business Plan, Budgets
Nicholas Lee             11/7/2023 Forecasts                Review FSS plan projections as it relates to AEJ.                                0.5          280       $140.00

                                   Business Plan, Budgets
Gary Polkowitz           11/8/2023 Forecasts                Review revised FSS 5-year projections as it relates to Alex Jones                0.6          683       $409.80

                                   Business Plan, Budgets
Gary Polkowitz           11/9/2023 Forecasts                Prepare for call on FSS revised 5-year projections as it relates to Alex Jones   0.4          683       $273.20

                                   Business Plan, Budgets
Gary Polkowitz           11/9/2023 Forecasts                Review revised FSS 5-year projections as it relates to Alex Jones                0.4          683       $273.20

                                   Business Plan, Budgets
Nicholas Lee             11/9/2023 Forecasts                Review FSS plan projections as it relates to AEJ.                                0.3          280        $84.00

                                   Business Plan, Budgets
                                   Forecasts                                                                                                 5.4                   $2,424.90




Nicholas Lee             11/3/2023 Investigation            Review documents produced, including bank statements.                            1.1          280       $308.00



Sidney Yune              11/6/2023 Investigation            Comparison of amended FSS projections to original                                3.0          280       $840.00



Sidney Yune              11/6/2023 Investigation            Continue to compare amended FSS projections to 0riginal                          1.7          280       $476.00



Sidney Yune              11/7/2023 Investigation            Compare amended FSS projections to original                                      1.6          280       $448.00



Gary Polkowitz           11/9/2023 Investigation            Review Alex Jones bank information related to deposits                           0.4          683       $273.20



Nicholas Lee             11/9/2023 Investigation            Review documents produced, including bank statements.                            0.7          280       $196.00



Nicholas Lee             11/9/2023 Investigation            Call with S. Yune re: bank statement review.                                     0.5          280       $140.00



Sidney Yune              11/9/2023 Investigation            Perform bank statement deposits analysis                                         0.5          280       $140.00



Sidney Yune              11/9/2023 Investigation            Call with N. Lee re: bank statement review.                                      0.5          280       $140.00



Nicholas Lee            11/10/2023 Investigation            Review documents produced, including bank statements.                            2.8          280       $784.00



Nicholas Lee            11/10/2023 Investigation            Call with S. Yune re: bank statement review.                                     0.5          280       $140.00



Sidney Yune             11/10/2023 Investigation            Continue to Perform bank statement deposits analysis                             2.2          280       $616.00
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Teneo Capital LLC


Time Period: November 1, 2023 to November 30, 2023                                                                                                   Exhibit C




Employee         Date              Case/Task/Event                                           Note                                       Rate         Amount



Sidney Yune             11/10/2023 Investigation     Call w/ N. Lee to discuss bank deposits analysis                             0.5          280       $140.00



Sidney Yune             11/13/2023 Investigation     Update questions for Blackbriar deposition                                   2.6          280       $728.00



Nicholas Lee            11/14/2023 Investigation     Review documents produced, including bank statements.                        1.2          280       $336.00



Nicholas Lee            11/14/2023 Investigation     Call with S. Yune re: bank statement review.                                 0.4          280       $112.00



Sidney Yune             11/14/2023 Investigation     Review of PQPR bank statements                                               2.3          280       $644.00



Sidney Yune             11/14/2023 Investigation     Call with N. Lee re: bank statement review.                                  0.4          280       $112.00



Gary Polkowitz          11/15/2023 Investigation     Call with N. Lee re: bank statement analysis.                                0.2          683       $136.60



Nicholas Lee            11/15/2023 Investigation     Call with G. Polkowitz re: bank statement analysis.                          0.2          280        $56.00



Sidney Yune             11/15/2023 Investigation     Draft deposition questions for Blackbriar                                    3.8          280      $1,064.00



Nicholas Lee            11/16/2023 Investigation     Review documents produced, including bank statements.                        2.9          280       $812.00



Nicholas Lee            11/16/2023 Investigation     Continue to review documents produced, including bank statements.            4.0          280      $1,120.00



Sidney Yune             11/16/2023 Investigation     Work on Alex Jones income analysis                                           2.4          280       $672.00



Nicholas Lee            11/17/2023 Investigation     Review documents produced, including bank statements.                        2.7          280       $756.00



Sidney Yune             11/17/2023 Investigation     Draft Alex Jones income analysis presentation                                2.9          280       $812.00



Sidney Yune             11/17/2023 Investigation     Further draft Alex Jones income analysis                                     3.6          280      $1,008.00



Sidney Yune             11/18/2023 Investigation     Revise Alex Jones income analysis presentation                               0.9          280       $252.00



Nicholas Lee            11/20/2023 Investigation     Review Blackbriar deposition outline.                                        0.4          280       $112.00



Sidney Yune             11/20/2023 Investigation     Review FSS Plan as it relates to Alex Jones                                  2.3          280       $644.00



Sidney Yune             11/20/2023 Investigation     Revise income analysis presentation                                          2.2          280       $616.00



Gary Polkowitz          11/21/2023 Investigation     Call with S. Yune on Bob Schleizer deposition prep                           0.5          683       $341.50



Sidney Yune             11/21/2023 Investigation     Call to discuss Blackbriar deposition questions w/ G. Polkowitz              0.5          280       $273.20



Gary Polkowitz          11/21/2023 Investigation     Review Alex Jones financial materials to prep for Bob Schleizer deposition   0.4          683       $273.20



Gary Polkowitz          11/21/2023 Investigation     Draft and review Bob Schleizer deposition questions                          0.4          683       $476.00
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Time Period: November 1, 2023 to November 30, 2023                                                                                                                Exhibit C




Employee         Date              Case/Task/Event                                                 Note                                              Rate         Amount



Nicholas Lee            11/21/2023 Investigation             Review documents produced, including bank statements.                             1.7          280       $924.00



Sidney Yune             11/21/2023 Investigation             Draft deposition questions for Blackbriar                                         3.3          280       $140.00



Sidney Yune             11/21/2023 Investigation             Revise income analysis presentation                                               0.5          280       $140.00

                                                             Continue to review Alex Jones financial Jones to prep for Bob Schleizer
Gary Polkowitz          11/22/2023 Investigation             deposition                                                                        0.6          683       $409.80



Gary Polkowitz          11/22/2023 Investigation             Continue to draft and review Bob Schleizer deposition questions                   0.3          683       $204.90



Sidney Yune             11/22/2023 Investigation             Draft deposition questions for Blackbriar                                         2.1          280       $588.00

                                                             Continue to review Alex Jones financial materials to prep for Bob Schleizer
Gary Polkowitz          11/24/2023 Investigation             deposition                                                                        0.4          683       $273.20



Gary Polkowitz          11/24/2023 Investigation             Continue to draft and review Bob Schleizer deposition questions                   0.4          683       $273.20



Gary Polkowitz          11/27/2023 Investigation             Review Alex Jones financial information for B. Schleizer deposition               0.4          683       $273.20



Nicholas Lee            11/27/2023 Investigation             Review documents produced, including bank statements.                             0.8          280       $224.00



Sidney Yune             11/27/2023 Investigation             Review bank statement analysis                                                    0.5          280       $140.00



Gary Polkowitz          11/28/2023 Investigation             Review correspondence related to B. Schleizer deposition                          0.3          683       $204.90

                                                             Analyze FSS income and create work product re: same and effect on Jones
Sidney Yune             11/29/2023 Investigation             estate                                                                            5.5          280      $1,540.00



Nicholas Lee            11/29/2023 Investigation             Review documents produced, including bank statements.                             0.3          280        $84.00



Sidney Yune             11/30/2023 Investigation             Revise income analysis presentation                                               3.9          280      $1,092.00



                                   Investigation                                                                                              74.2                  $22,508.90




                                   Meetings and
                                   Communications with UCC   Participate on weekly professional call on cases strategy with Nardello and
Gary Polkowitz           11/1/2023 and Counsel               Akin teams                                                                        0.5          683       $341.50
                                   Meetings and
                                   Communications with UCC   Attend UCC strategy meeting with Aikin, Teneo and Nardello and counsel to the
Marc Kirschner           11/2/2023 and Counsel               Families.                                                                         1.0          650       $650.00
                                   Meetings and
                                   Communications with UCC
Gary Polkowitz           11/9/2023 and Counsel               Call with Akin and Nardello team Lee on Alex Jones tax return analysis            0.6          683       $409.80
                                   Meetings and
                                   Communications with UCC
Marc Kirschner           11/9/2023 and Counsel               Attend UCC strategy meeting with Aikin, Nardello, families                        1.0          650       $650.00
                                   Meetings and
                                   Communications with UCC
Gary Polkowitz          11/14/2023 and Counsel               Call with Akin and Teneo team to discuss strategy for Bob Schleizer deposition    0.4          683       $273.20
                                   Meetings and
                                   Communications with UCC   Call with Akin, Nardello and Teneo (M . Kumar and S. Yune) teams on entities
Gary Polkowitz          11/15/2023 and Counsel               income distribution related to Alex Jones                                         0.7          683       $478.10
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Teneo Capital LLC


Time Period: November 1, 2023 to November 30, 2023                                                                                                                Exhibit C




Employee         Date              Case/Task/Event                                                Note                                               Rate         Amount
                                   Meetings and
                                   Communications with UCC
Gary Polkowitz          11/15/2023 and Counsel               Call with Akin Team related to Bob Schleizer deposition preparation               0.4          683       $273.20
                                   Meetings and
                                   Communications with UCC   Call with Akin, Nardello and Teneo (G. Polkowitz) teams on entities income
Manish Kumar            11/15/2023 and Counsel               distribution related to Alex Jones                                                0.7          613       $429.10
                                   Meetings and
                                   Communications with UCC   Weekly UCC Financial Advisor Coordination Call with Akin, Teneo and
Manish Kumar            11/15/2023 and Counsel               Nardello teams                                                                    0.9          613       $551.70
                                   Meetings and
                                   Communications with UCC   Call with Akin, Nardello and Teneo (M .Kumar) teams on trust cash flow
Gary Polkowitz          11/17/2023 and Counsel               analysis                                                                          0.5          683       $341.50
                                   Meetings and
                                   Communications with UCC   Call with Akin, Nardello and Teneo (G. Polkowitz) teams on trust cash flow
Manish Kumar            11/17/2023 and Counsel               analysis                                                                          0.5          613       $306.50
                                   Meetings and
                                   Communications with UCC   Participate on UCC weekly call with Akin, Nardello an Teneo (M. Kirschner) and
Gary Polkowitz          11/20/2023 and Counsel               counsel to the UCC members                                                        0.5          683       $341.50
                                   Meetings and
                                   Communications with UCC   Participate on UCC weekly call with Akin, Nardello an Teneo (G. Polkowitz) and
Marc Kirschner          11/20/2023 and Counsel               counsel to the UCC members                                                        0.5          650       $325.00
                                   Meetings and
                                   Communications with UCC
Nicholas Lee            11/21/2023 and Counsel               Call with G. Polkowitz, S.Yune and Akin re: workstreams and updates.              0.5          280       $140.00
                                   Meetings and
                                   Communications with UCC
Gary Polkowitz          11/27/2023 and Counsel               Call with Akin Team on preparation for B. Schleizer deposition                    0.3          683       $204.90
                                   Meetings and
                                   Communications with UCC   Participate on weekly UCC professionals call with Akin, Nardello and Teneo
Gary Polkowitz          11/29/2023 and Counsel               teams                                                                             0.5          683       $341.50
                                   Meetings and
                                   Communications with UCC   Participate on weekly UCC professionals call with Akin, Nardello and Teneo
Manish Kumar            11/29/2023 and Counsel               teams                                                                             0.5          613       $306.50
                                   Meetings and
                                   Communications with UCC   Participate on weekly UCC call with Akin, Nardello and Teneo teams and
Gary Polkowitz          11/30/2023 and Counsel               counsel to the UCC members                                                        1.3          683       $887.90
                                   Meetings and
                                   Communications with UCC   Participate on weekly UCC call with Akin, Nardello and Teneo teams and
Manish Kumar            11/30/2023 and Counsel               counsel to the UCC members                                                        1.3          613       $796.90
                                   Meetings and
                                   Communications with UCC
                                   and Counsel                                                                                                12.6                   $8,048.80




                                   Retention and Fee
Gary Polkowitz          11/15/2023 Applications              Organize and review August monthly fee statement                                  0.3          683       $204.90

                                   Retention and Fee
Gary Polkowitz          11/15/2023 Applications              Organize and review September monthly fee statement                               0.3          683       $204.90

                                   Retention and Fee
Gary Polkowitz          11/15/2023 Applications              Organize and review July monthly fee statement                                    0.2          683       $136.60

                                   Retention and Fee
Gary Polkowitz          11/16/2023 Applications              Review and finalize July 2023 month fee statement                                 0.5          683       $341.50

                                   Retention and Fee
Gary Polkowitz          11/16/2023 Applications              Review and finalize August monthly fee statement                                  0.4          683       $273.20

                                   Retention and Fee
Gary Polkowitz          11/16/2023 Applications              Review and finalize September monthly fee statement                               0.4          683       $273.20

                                   Retention and Fee
                                   Applications                                                                                                2.1                   $1,434.30
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Teneo Capital LLC


Time Period: November 1, 2023 to November 30, 2023                                                                                                           Exhibit C




Employee         Date              Case/Task/Event                                                    Note                                      Rate         Amount

                                   Strategy and Financial
Gary Polkowitz           11/2/2023 Advisory Services to UCC   Review materials on PQPR related to Alex Jones                              0.3          683       $204.90

                                   Strategy and Financial
Gary Polkowitz           11/7/2023 Advisory Services to UCC   Call with G. Polkowitz re: Teneo strategy                                   0.4          683       $273.20

                                   Strategy and Financial
Manish Kumar             11/7/2023 Advisory Services to UCC   Call with M. Kumar re: Teneo strategy                                       0.4          613       $245.20

                                   Strategy and Financial
Nicholas Lee             11/8/2023 Advisory Services to UCC   Review AEJ tax return                                                       0.7          280       $196.00

                                   Strategy and Financial
Gary Polkowitz           11/9/2023 Advisory Services to UCC   Review Alex Jones historical tax return analysis                            0.4          683       $273.20

                                   Strategy and Financial
Nicholas Lee             11/9/2023 Advisory Services to UCC   Call with S. Yune re: AEJ tax return.                                       2.0          280       $560.00

                                   Strategy and Financial
Sidney Yune              11/9/2023 Advisory Services to UCC   Call re tax returns analysis with N. Lee                                    2.0          280       $560.00

                                   Strategy and Financial
Sidney Yune              11/9/2023 Advisory Services to UCC   Draft memorandum of FSS amended projection call notes                       0.9          280       $252.00

                                   Strategy and Financial
Nicholas Lee            11/13/2023 Advisory Services to UCC   Review Blackbriar deposition outline.                                       1.3          280       $364.00

                                   Strategy and Financial
Gary Polkowitz          11/14/2023 Advisory Services to UCC   Participate on weekly Teneo team call on case update and strategy           0.4          683       $273.20

                                   Strategy and Financial
Marc Kirschner          11/14/2023 Advisory Services to UCC   Internal strategy call with G. Polkowitz                                    0.4          650       $260.00

                                   Strategy and Financial
Nicholas Lee            11/14/2023 Advisory Services to UCC   Review Blackbriar deposition outline.                                       0.4          280       $112.00

                                   Strategy and Financial
Nicholas Lee            11/15/2023 Advisory Services to UCC   Review correspondence on AEJ and FSS as it relates to AEJ.                  0.3          280        $84.00

                                   Strategy and Financial
Gary Polkowitz          11/16/2023 Advisory Services to UCC   Review Alex Jones financial information for UCC deck                         1           683       $683.00

                                   Strategy and Financial
Gary Polkowitz          11/17/2023 Advisory Services to UCC   Review correspondence related to draft UCC deck                             0.4          683       $273.20

                                   Strategy and Financial     Call with S. Yune on work stream related to the UCC presentation deck and
Gary Polkowitz          11/17/2023 Advisory Services to UCC   review same                                                                 0.5          683       $341.50

                                   Strategy and Financial
Sidney Yune             11/17/2023 Advisory Services to UCC   Conduct cash flow analysis                                                  0.5          280       $140.00

                                   Strategy and Financial
Nicholas Lee            11/17/2023 Advisory Services to UCC   Review presentation for UCC                                                 2.1          280       $588.00

                                   Strategy and Financial
Nicholas Lee            11/17/2023 Advisory Services to UCC   Review correspondence on AEJ and FSS as it relates to AEJ.                  0.2          280        $56.00

                                   Strategy and Financial
Nicholas Lee            11/17/2023 Advisory Services to UCC   Review Subchapter V Trustee report as it relates to AEJ.                    0.8          280       $224.00

                                   Strategy and Financial
Sidney Yune             11/17/2023 Advisory Services to UCC   Workstream coordination call with G. Polkowitz                              0.8          280       $224.00

                                   Strategy and Financial
Gary Polkowitz          11/18/2023 Advisory Services to UCC   Review and comment on draft UCC deck                                        1.4          683       $956.20

                                   Strategy and Financial
Gary Polkowitz          11/18/2023 Advisory Services to UCC   Review correspondence related to draft UCC deck                             0.3          683       $204.90
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Employee         Date              Case/Task/Event                                                Note                                   Rate         Amount

                                   Strategy and Financial
Nicholas Lee            11/18/2023 Advisory Services to UCC   Review presentation for UCC                                          1.3          280       $364.00

                                   Strategy and Financial
Gary Polkowitz          11/19/2023 Advisory Services to UCC   Continue to review and comment draft presentation deck for the UCC   1.0          683       $683.00

                                   Strategy and Financial
Gary Polkowitz          11/20/2023 Advisory Services to UCC   Review and comment on draft UCC presentation                         1.7          683      $1,161.10

                                   Strategy and Financial
Gary Polkowitz          11/20/2023 Advisory Services to UCC   Call with N. Lee on UCC presentation                                 0.5          683       $341.50

                                   Strategy and Financial
Nicholas Lee            11/20/2023 Advisory Services to UCC   Review correspondence on AEJ and FSS as it relates to AEJ.           0.2          280        $56.00

                                   Strategy and Financial
Nicholas Lee            11/20/2023 Advisory Services to UCC   Review presentation for UCC                                          2.3          280       $644.00

                                   Strategy and Financial
Nicholas Lee            11/20/2023 Advisory Services to UCC   Call with G. Polkowitz re: workstreams and updates.                  0.5          280       $140.00

                                   Strategy and Financial
Nicholas Lee            11/21/2023 Advisory Services to UCC   Call with S.Yune re: workstreams and updates.                        0.3          280        $84.00

                                   Strategy and Financial
Nicholas Lee            11/21/2023 Advisory Services to UCC   Review AEJ October 2023 MOR                                          0.2          280        $56.00

                                   Strategy and Financial
Nicholas Lee            11/21/2023 Advisory Services to UCC   Review presentation for UCC                                          0.9          280       $252.00

                                   Strategy and Financial
Sidney Yune             11/21/2023 Advisory Services to UCC   Call with N. Lee re: workstreams                                     0.3          280        $84.00

                                   Strategy and Financial
Gary Polkowitz          11/22/2023 Advisory Services to UCC   Review Alex Jones October 2023 MOR                                   0.5          683       $341.50

                                   Strategy and Financial
Gary Polkowitz          11/22/2023 Advisory Services to UCC   Review financial analysis related to Alex Jones MORs                 0.3          683       $204.90

                                   Strategy and Financial
Nicholas Lee            11/22/2023 Advisory Services to UCC   Review AEJ October 2023 MOR for expense trends.                      1.1          280       $308.00

                                   Strategy and Financial
Nicholas Lee            11/22/2023 Advisory Services to UCC   Call with S.Yune re: workstreams and updates.                        0.6          280       $168.00

                                   Strategy and Financial
Sidney Yune             11/22/2023 Advisory Services to UCC   Call with N. Lee re: workstreams and updates.                        0.6          280       $168.00

                                   Strategy and Financial
Gary Polkowitz          11/24/2023 Advisory Services to UCC   Review financial analysis related to Alex Jones MORs                 0.4          683       $273.20

                                   Strategy and Financial
Gary Polkowitz          11/27/2023 Advisory Services to UCC   Review correspondence related to Alex Jones projections              0.3          683       $204.90

                                   Strategy and Financial
Gary Polkowitz          11/27/2023 Advisory Services to UCC   Review correspondence on PQPR as it relates to Alex Jones            0.2          683       $136.60

                                   Strategy and Financial
Gary Polkowitz          11/27/2023 Advisory Services to UCC   Discuss workstreams with M. Kumar                                    0.2          683       $136.60

                                   Strategy and Financial
Manish Kumar            11/27/2023 Advisory Services to UCC   Discuss workstreams with Gary Polkowitz                              0.2          613       $122.60

                                   Strategy and Financial
Nicholas Lee            11/27/2023 Advisory Services to UCC   Review amended SOFA and SOALs of AEJ.                                0.5          280       $140.00

                                   Strategy and Financial
Sidney Yune             11/27/2023 Advisory Services to UCC   Review of Third amended Statements and Schedules                     2.5          280       $700.00
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Employee         Date              Case/Task/Event                                                  Note                                                Rate         Amount

                                   Strategy and Financial
Gary Polkowitz          11/29/2023 Advisory Services to UCC   Call with M. Kumar to discuss draft workstreams                                     0.2          683       $136.60

                                   Strategy and Financial
Gary Polkowitz          11/29/2023 Advisory Services to UCC   Review draft confirmation scheduling order                                          0.2          683       $136.60

                                   Strategy and Financial
Manish Kumar            11/29/2023 Advisory Services to UCC   Discussions with G. Polkowitz re. workstreams                                       0.2          613       $122.60

                                   Strategy and Financial
Nicholas Lee            11/29/2023 Advisory Services to UCC   Call with S. Yune re: presentation for UCC                                          1.1          280       $308.00

                                   Strategy and Financial
Sidney Yune             11/29/2023 Advisory Services to UCC   UCC presentation discussion w/ M. Kumar, N. Lee                                     1.1          280       $308.00

                                   Strategy and Financial
Nicholas Lee            11/29/2023 Advisory Services to UCC   Review presentation for UCC                                                         0.6          280       $168.00

                                   Strategy and Financial     UCC financial advisor call with Nardello, Akin teams and counsel to the
Nicholas Lee            11/29/2023 Advisory Services to UCC   committee members.                                                                  0.5          280       $140.00

                                   Strategy and Financial
Gary Polkowitz          11/30/2023 Advisory Services to UCC   Call with M. Kumar to discuss case strategy and update                              0.4          683       $273.20

                                   Strategy and Financial
Manish Kumar            11/30/2023 Advisory Services to UCC   Call with G. Polkowitz re: case updates                                             0.4          613       $245.20

                                   Strategy and Financial
Manish Kumar            11/30/2023 Advisory Services to UCC   Discuss UCC presentation with S. Yune                                               0.5          613       $306.50

                                   Strategy and Financial
Sidney Yune             11/30/2023 Advisory Services to UCC   Discuss UCC presentation w/ M. Kumar                                                0.5          280       $140.00

                                   Strategy and Financial
                                   Advisory Services to UCC                                                                                      40.2                  $16,403.10




Nicholas Lee             11/3/2023 Valuation and Solvency     Review AEJ MORs                                                                     0.2          280        $56.00



Gary Polkowitz           11/6/2023 Valuation and Solvency     Participate on a call with N. Lee and S. Yune on FSS as it relates to Alex Jones    0.3          683       $204.90



Sidney Yune              11/6/2023 Valuation and Solvency     Call with G. Polkowitz, N. Lee re: FSS projections as it relates to AEJ.            0.3          280        $84.00



Nicholas Lee             11/6/2023 Valuation and Solvency     Call with S. Yune and G. Polkowitz re: FSS projections as it relates to AEJ.         1           280       $280.00



Gary Polkowitz           11/7/2023 Valuation and Solvency     Discussions with M. Kumar re. FSS projections as it relates to Alex Jones           0.2          683       $136.60



Manish Kumar             11/7/2023 Valuation and Solvency     Discussions with G. Polkowitz re. FSS projections as it relates to Alex Jones       0.2          613       $122.60



Manish Kumar             11/7/2023 Valuation and Solvency     Review projections and related materials re: Jones                                  1.2          613       $735.60



Manish Kumar             11/7/2023 Valuation and Solvency     Comment on FSS Projections                                                          0.7          613       $429.10

                                                              Call to discuss FSS amended projections as it relates to Alex Jones w/ M.
Sidney Yune              11/7/2023 Valuation and Solvency     Kumar                                                                               0.5          280       $140.00



Manish Kumar             11/7/2023 Valuation and Solvency     Discussions with Sidney Yune re. FSS projections as it relates to Alex Jones        0.5          613       $306.50
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Employee         Date              Case/Task/Event                                               Note                                           Rate         Amount



Gary Polkowitz           11/9/2023 Valuation and Solvency   Call with M. Kumar and FSS projections as it relates to Alex Jones            1.0          683       $683.00



Manish Kumar             11/9/2023 Valuation and Solvency   Call with G. Polkowitz and FSS re: FSS projections                            1.0          613       $613.00



Manish Kumar            11/10/2023 Valuation and Solvency   Prepare key observations from meeting with FSS re: projections                2.3          613      $1,409.90



Manish Kumar            11/15/2023 Valuation and Solvency   Review correspondence from Akin Team                                          0.6          613       $367.80

                                                            Review confi stipulation, and execute and share the signed stipulation with
Manish Kumar            11/15/2023 Valuation and Solvency   counsel                                                                       0.5          613       $306.50



Manish Kumar            11/15/2023 Valuation and Solvency   Review correspondence from counsel                                            0.4          613       $245.20



Manish Kumar            11/16/2023 Valuation and Solvency   Discussion on FSS Information to be gathered with S. Yune                     1.0          613       $613.00



Manish Kumar            11/16/2023 Valuation and Solvency   Continue to review the Subchapter V Trustee's report                          4.2          613      $2,574.60



Manish Kumar            11/16/2023 Valuation and Solvency   Review Alex Jones tax returns                                                 1.8          613      $1,103.40



Manish Kumar            11/16/2023 Valuation and Solvency   Review Subchapter V Trustee's report                                          1.2          613       $735.60



Sidney Yune             11/16/2023 Valuation and Solvency   Discussion on FSS information to be gathered w/ M. Kumar                      1.0          280       $280.00



Manish Kumar            11/16/2023 Valuation and Solvency   Call with counsel to UCC members re: case updates                             0.5          613       $306.50



Manish Kumar            11/16/2023 Valuation and Solvency   Prepare for call with counsel to UCC members                                  0.5          613       $306.50



Sidney Yune             11/16/2023 Valuation and Solvency   Analyze of FSS projections as it relates to Alex Jones                        0.9          280       $252.00



Manish Kumar            11/17/2023 Valuation and Solvency   Discussion with Nicholas Lee re. bank statement analyses                      0.3          613       $183.90



Manish Kumar            11/17/2023 Valuation and Solvency   Call with Sidney Yune re: workstreams                                         0.8          613       $490.40



Sidney Yune             11/17/2023 Valuation and Solvency   Call w/ M . Kumar re: workstreams                                             0.8          280       $224.00



Manish Kumar            11/17/2023 Valuation and Solvency   Draft presentation to the UCC                                                 3.4          613      $2,084.20



Manish Kumar            11/17/2023 Valuation and Solvency   Analyze cash flows                                                            0.5          613       $306.50



Manish Kumar            11/17/2023 Valuation and Solvency   Prepare draft analysis and share with team                                    0.5          613       $306.50



Manish Kumar            11/17/2023 Valuation and Solvency   Review Sub V Trustee's report re: impact on Jones case                        0.5          613       $306.50



Manish Kumar            11/17/2023 Valuation and Solvency   Review and update Cash Flow analysis                                          1.9          613      $1,164.70



Manish Kumar            11/17/2023 Valuation and Solvency   Review Alex Jones bank statement analysis                                     0.8          613       $490.40
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Employee       Date              Case/Task/Event                                                  Note                                            Rate         Amount



Manish Kumar          11/17/2023 Valuation and Solvency   Review Alex Jones tax return                                                      0.7          613       $429.10



Manish Kumar          11/17/2023 Valuation and Solvency   Review communications from counsel and prepare for meeting with Akin              0.6          613       $367.80



Nicholas Lee          11/17/2023 Valuation and Solvency   Call with M. Kumar re: workstreams overview.                                      1.0          280       $280.00



Manish Kumar          11/17/2023 Valuation and Solvency   Call with Nicholas Lee re: workstreams                                            1.0          613       $613.00



Nicholas Lee          11/17/2023 Valuation and Solvency   Call with M. Kumar re: bank statements                                            0.3          280        $84.00



Sidney Yune           11/17/2023 Valuation and Solvency   Analyze of FSS Projections as it relates to Alex Jones                            1.1          280       $308.00

                                                          Work on creating the summary tables for various analyses re. Jones's ability to
Manish Kumar          11/18/2023 Valuation and Solvency   pay judgment                                                                      3.8          613      $2,329.40



Manish Kumar          11/18/2023 Valuation and Solvency   Review and edit presentation                                                      0.7          613       $429.10



Manish Kumar          11/18/2023 Valuation and Solvency   Revise presentation to the UCC                                                    6.3          613      $3,861.90

                                                          Review comments from counsel, update the presentation, and provide direction
Manish Kumar          11/19/2023 Valuation and Solvency   to Teneo team on next steps.                                                      2.8          613      $1,716.40



Manish Kumar          11/19/2023 Valuation and Solvency   Draft executive summary section re. Jones's ability to pay judgment               1.9          613      $1,164.70



Manish Kumar          11/21/2023 Valuation and Solvency   Review updated deck, and draft executive summary summarizing the analyses.        5.3          613      $3,248.90



Manish Kumar          11/21/2023 Valuation and Solvency   Revise exec summary                                                               1.8          613      $1,103.40



Manish Kumar          11/21/2023 Valuation and Solvency   Refine the exec summary                                                           1.7          613      $1,042.10



Manish Kumar          11/21/2023 Valuation and Solvency   Correspondence with counsel re: presentation                                      0.2          613       $122.60



Manish Kumar          11/21/2023 Valuation and Solvency   Discussions with Akin re. executive summary.                                      0.5          613       $306.50



Manish Kumar          11/21/2023 Valuation and Solvency   Discussions with Akin re. next steps.                                             0.5          613       $306.50



Manish Kumar          11/27/2023 Valuation and Solvency   Review and compare Alex Jones tax return with related materials                   0.5          613       $306.50



Manish Kumar          11/27/2023 Valuation and Solvency   Correspondence with UCC members' counsel                                          0.5          613       $306.50



Manish Kumar          11/27/2023 Valuation and Solvency   Review correspondence re: case status                                             0.4          613       $245.20



Manish Kumar          11/27/2023 Valuation and Solvency   Prepare response to questions and share with Akin and Teneo team.                 1.1          613       $674.30



Manish Kumar          11/28/2023 Valuation and Solvency   Listen in on Deposition of Robert Schleizer, Blackbriar                           7.6          613      $4,658.80



Manish Kumar          11/28/2023 Valuation and Solvency   Communications with counsel and Teneo team re: case status                        0.6          613       $367.80
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Time Period: November 1, 2023 to November 30, 2023                                                                                            Exhibit C




Employee       Date              Case/Task/Event                                              Note                               Rate         Amount



Manish Kumar          11/29/2023 Valuation and Solvency   Review Jones operating reports from January - October 2023       1.3          613       $796.90



Manish Kumar          11/29/2023 Valuation and Solvency   Review and analyze Alex Jones income statements                  1.2          613       $735.60



Manish Kumar          11/29/2023 Valuation and Solvency   Review UCC presentation                                           1           613       $613.00



Manish Kumar          11/29/2023 Valuation and Solvency   Review correspondence re: case updates                           0.5          613       $306.50



Manish Kumar          11/29/2023 Valuation and Solvency   Review analysis of FSS financial information                     0.5          613       $306.50



Manish Kumar          11/30/2023 Valuation and Solvency   Discussions with counsel re. next steps and task timeframes.     0.5          613       $306.50



Manish Kumar          11/30/2023 Valuation and Solvency   Prepare for UCC presentation                                     1.5          613       $919.50



                                 Valuation and Solvency                                                                   78.9                  $46,106.40




                                 Total                                                                                   213.4                  $96,926.40
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                               Exhibit D
     Summary of Expenses Incurred by Category as Financial Advisor
       For the Period November 1, 2023 through November 30, 2023



                         No Expenses Incurred
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                                 Exhibit E
Detailed Expenses Incurred by Category and Professional as Financial Advisor
         For the Period November 1, 2023 through November 30, 2023



                           No Expenses Incurred
